Case: 3:25-cv-00021-TMR-PBS Doc #: 1-4 Filed: 01/22/25 Page: 1 of 6 PAGEID #: 15



                                         Clark County, Ohio
                                              FILED
                                            DEC 10 2024
                                       Common Pleas Court
                                      Melissa M. Tuttle, Clerk



                   IN THE COMMON PLEAS COURT OF CLARK COUNTY, OHIO
                                  CRIMINAL DIVISION

      STATE OF OHIO                                      CASE NO. 2024 CR 0278

            Plaintiff,                                   JUDGE RASTATTER
      vs.

      WILLIAM J. BROCK                                   MOTION FOR CONTEMPT
                                                         (Ohio Crim. R. 17)
            Defendant.



         Now comes the Defendant, WILLIAM J. BROCK, by and through his attorneys RION,
   RION & RION, L.P.A., INC., and hereby respectfully moves this Court to order the Federal
   Bureau of Investigation, Resident Agent in charge, to show cause why they should not be held in
   contempt of this Court for their failure to comply with a subpoena for documents served on
   August 22, 2024 and filed herein on August 23, 2024, for the reasons set forth in the attached
   memorandum, and for further reasons which will be set forth at the oral hearing.


            A memorandum in support is attached hereto.

            An oral hearing is respectfully requested.




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                                              Respectfully submitted, Q . . _


                                                                    /
                                                     H. RION (00 2228)
                                                 N PAUL RION (0067020)
                                                 ON, RION & RION, L.P.A., INC.
                                              Counsel for the Defendant
                                              130 West Second Street, Suite 2150
                                              P.O. Box 10126
                                              Dayton, Ohio 45402
                                              (937) 223-9133
                                              info@rionlaw.com




                                    CERTIFICATE OF SERVICE

           I, the undersigned, do hereby certify that a copy of the foregoing was forwarded to the
   Prosecuting Attorney, Kadawni Scott, via electronic mail: kscott@clarkcountyohio.gov and the
   Federal Bureau of Investigation, 7747 Clyo Road, Dayton, Ohio 45459 via Special Process
   Server.




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                                          MEMORANDUM



          Undersigned counsel issued a subpoena on behalf of the Defendant, in addition to a

   formal Touhy request, to the Federal Bureau of Investigation (F.B.I.) commanding the F.B.I. to

   produce documents (Exhibit A). The subpoena was successfully served on August 22, 2024 and

   the return of service was filed with this Court on August 23, 2024 (Exhibit B).

          The failure to comply is without adequate excuse in that no timely written objections to

   the subpoena were filed, and no motion to quash the subpoena was filed prior to the date of

   compliance in accordance with Ohio Crim. R. 17(C). The only appropriate remedy for this

   willful noncompliance with a lawfully executed subpoena is to hold the F.B.I. in contempt of this

   court until compliance with the subpoena is satisfied.




                                                        Respectfully submitted,




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                                     couRT OF COMMON PLEAs,Ei ...--..~
                                                   Clark County, Ohio
                                                                                 Case No.            24 CR0278
  State of Ohio
                                                                                !This subpoena is issued upon application of the:
  Plaintiff,
 vs.                                                                             O      Plaintiff      @     Defendant        C Prosecution
  William J. Brock                                                               Type of Subpoena:
  Defendant,                                                                     0 Civil/Criminal @ Duces Tecum            O     Grand Jury

   STATE OF OHIO
  CLARK COUNTY, SS:
To the Process Server        of Clark County, Ohio                   You are hereby commanded to subpoena the person named below.
Name: Federal Bureau of Investigation                                   Address: 200 W. 2nd Street, #811
                                     , State Ohio
City: Dayton
                                              - - - - - - - - Zip Code45402
                                                                      - - - - - - Phone Number                            +1 (513) 421-4310
You are herebv commanded to appear before the Honorable Judge Douglas Rastatter                            in the county building located at
14 East Main St. 3rd Fl.                     in said Clark County, Ohio, on4/14/2025                Time: 9:00 a.m. , in Springfield, OH to
testify as a witness in a certain case pending in said court on behalf of the Defendant

IZI Attend and give testimony at the trial, hearing, or disposition on the date, time, and at the place specified above.
D Attend and produce books, papers, documents, or other objects as specified at a trial or hearing on the date, time, and at the
     place specified above.
Description of or other items to be produced:
Please provide the following either via regular U.S. mail to the Law Offices of Rion, Rion & Rion L.P.A., 130 West Second
Street, Suite 2150, Dayton, Ohio 45402, via email: kmiller@rionlaw.com and/or via fax: (937) 223-7540, on or before
September 30, 2024: any and all investigative reports, specifically in regards to the March 25, 2024 incident, as well as all
activities by your target individual(s), including the target individual's contacts with Uber and the decedent, Loletha M. Hall,
DOB: 2/21/1963, SSN: xxx-xx-4389, from February 1, 2024 through March 25, 2024; similar acts of fraud in other locations in
the past year, including identities of target individuals, accomplices, and associates, as well as weapon and/or firearm purchases
by the target individual(s) in the past year.




and not depart the court without leave. Failure to comply with this subpoena may result in criminal and civil sanctions. Present this subpoena
to the Clerk of Court upon arrival and before you leave. You mav be held in contempt of Court for failure to appear.

                                                                               Attorney's Contact Information:
WITNESS my hand and seal of said Court:                                        Name:        John H. Rion
Melissa M. Tuttle, Clerk Of the Court of Common Pleas                          Address:     130 West Second Street, Suite 2150
                                                                               City: Dayton                         Zip Code 45402
                                                                                                                                 -----
                                                                               Bar Number: 0002228                Date:          8/20/2024

                                                                               Email kmiller@rionlaw.com
                                                                               Phone:     937-223-9133
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RULE 45. Subpoena

(C) Protection ofpersons subject to subpoenas.

            (I) A party or an attomey responsible for the issuance and service of a subpoena shall take reasonable steps to avoid imposing undue burden or
expense on a person subject to that subpoena.
            (2)(a) A person commanded to produce under divisions (A)(l)(b), (iii), (iv), (v), or (vi) of this rule need not appear in person at the place of
production or inspection unless commanded to attend and give testimony at a deposition, hearing, or trial.
(b) Subject to division (D)(2) of this rule, a person commanded to produce under divisions (A)(l)(b), (iii), (iv), (v), or (vi) of this rule may, within fourteen
days after service of the subpoena or before the time specified for compliance if such time is less than fomteen days after service, serve upon the pa1ty or
attorney designated in the subpoena written objections to production. If objection is made, the party serving the subpoena shall not be entitled to
production except pursuant to an order of the court by which the subpoena was issued. If objection has been made, the party serving the subpoena, upon notice
to the person commanded to produce, may move at any time for an order to compel the production. An order to compel production shall protect any person
who is not a party or an officer of a party from significant expense resulting from the production commanded.
            (3) On timely motion, the court from which the subpoena was issued shall quash or modify the subpoena, or order appearance or production only
under specified conditions, if the subpoena does any of the following:
(a) Fails to allow reasonable time to comply;
(b) Requires disclosure of privileged or othe1wise protected matter and no exception or waiver applies;
(c) Requires disclosure of a fact known or opinion held by an expert not retained or specially employed by any party in anticipation oflitigation or preparation
for trial as described by Civ.R. 26(B)(5), if the fact or opinion does not describe specific events or occmTences in dispute and results from study by that expert
that was not made at the request of any party;
(d) Subjects a person to undue burden.
            (41,&fore filing a motion oursuant to division (C)(3)(d) of this rule, a person resisting discovery under this rule shall attempt to resolve any claim of
undue burden throughclisciissions with the issuing attorney. A motion filed pursuant to division (C)(3)(d) of this rule shall be supported by an affidavit of the
subpoenaed person or a ce1tificate of that person's attorney of the eff01ts made to resolve any claim of undue burden.
            (5) If a motion is made under division (C)(3)(c) or (C)(3)(d) of this rule, the court shall quash or modify the subpoena unless the party in whose
behalf the subpoena is issued shows a substantial need for the testimony or material that cannot be otherwise met without undue hardship and assures that the
person to whom the subpoena is addressed will be reasonably compensated.

(D) Duties in responding to subpoena.

           (I) A person responding to a subpoena to produce documents shall, at the person's option, produce them as they are kept in the usual course of
business or organized and labeled to correspond with the categories in the subpoena. A person producing docmnents or electronically stored information
pursuant to a subpoena for them shall permit their inspection and copying by all paities present at the time and place set in the subpoena for inspection and
copying.
           (2) If a request does not specify the form or forms for producing electronically stored information, a person responding to a subpoena may produce
the information in a form or forms in which the information is ordinarily maintained if that form is reasonably use able, or in any form that is reasonably use
able. Unless ordered by the court or agreed to by the person subpoenaed, a person responding to a subpoena need not produce the same electronically stored
information in more than one form.
           (3) A person need not provide discovery of electronically stored information when the production imposes undue burden or expense. On motion to
compel discovery or for a protective order, the person from whom electronically stored information is sought must show that the information is not reasonably
accessible because of undue burden or expense. If a showing of undue burden or expense is made, the court may nonetheless order production of electronically
stored information if the requesting party shows good cause. The court shall consider the factor sin Civ. R. 26(B)(4) when determining if good cause exists. In
ordering production of electronically stored information, the court may specify the format, extent, timing, allocation of expenses and other conditions for the
discovery of the electronically stored information.
           (4) When information subject to a subpoena is withheld on a claim that it is privileged or subject to protection as trial preparation materials, the
claim shall be made expressly and shall be supported by a description of the nature of the documents, communications, or things not produced that is sufficient
to enable the demanding paity to contest the claim.
           (5) If information is produced in response to a subpoena that is subject to a claim of privilege or of protection as trial-preparation material, the
person making the claim may notify any party that received the infom1ation of the claim and the basis for it. After being notified, a receiving party must
promptly return, sequester, or destroy the specified information and any copies within the party's possession, custody or control. A party may not use or
disclose the information until the claim is resolved. A receiving party may promptly present the information to the court under seal for a determination of the
claim of privilege or of protection as trial preparation material. If the receiving party disclosed tl1e information before being notified, it must take reasonable
steps to retrieve it. The person who produced the information must preserve the information until the claim is resolved.

(E) Sanctions. Failure by any person without adequate excuse to obey a subpoena served upon that person may be deemed a contempt of the court from which
the subpoena issued. A subpoenaed person or that person's attorney who frivolously resists discovery under this rule may be required by the court to pay the
reasonable expenses, including reasonable attorney's fees, of the party seeking the discovery. The court from which a subpoena was issued may impose upon a
party or attorney in breach of the duty imposed by division (C)(l) of this rule an appropriate sanction, which may include, but is not limited to, lost earnings
and reasonable attorney's fees.

(F) Privileges. Nothing in this rule shall be construed to authorize a party to obtain information protected by any privilege recognized by law, or to authorize
any person to disclose such information.
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                                            COURT OF COMMON PLE~XI " I ~
                                                Clark County, Ohio 5=-1°Y.j.



    State of Ohio                                                                      Case No.       24 CR0278
    Plaintiff,
        vs.                                                                            Honorable Judge Douglas Rastatter
    William J. Brock
    Defendant,                                                                         This subpoena was issued upon application of the:
                                                                                        0 Plaintiff @     Defendant     O Prosecution
    Date of Hearing:
                           L---------'




                                      RETURN OF SERVICE ON SUBPOENA
    I received a Subpoena for Federal Bureau oflnvestigation                                         , a named witness for the
                             -------------------
    Address: 200 W. 2nd Street, #811    City: Dayton
                                                                                 ~ - - - - - - - ' IState Ohio
    Zip Code 45402                  Defense Plaintiff Prosecution (circle one), on (Date received)     cs_~;,...lai
    I served the Subpoena on the said witness, and made the following service on (Date of servic~) C3 [ , ~                       y'

            @ Personal         O Failure O Residential
                                                                  Type of Service:
                                                           C E-mail O Attorney O Certified Mail O Process Server (', Sheriff     y
                                                                                                                           v11
           Clark County, Ohio                   RETURN OF SERVICE FEES
                F•n.... ;:-;-,
                        a....i..J           Service and Return:       $
              AUG 23 2024
                                            Mileage:                   $
        Common Pleas Court
       Melissa M. Tuii/e, C/s,k             Other:                     $

                                            Total:                     $




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    ~w E:t1fete1m11Ht Offie~ (Print)

     ic-o.,.. JJlucY, ru=;:c.u.J
    Agency

     CJ ~/;z2} :cf
    Date
